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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF ARIZONA

 

 

 

United States of America, No. CR-l 8-08271'PCT’DJH (MHB)
Plaintiff’ INDIC TMENT
V~ VIO; 18 U.s.C. §§ 1153 and 113(;1)(8)
(CIR: Assault by Strangulatron)
Nathan Sntherland, Count 1
Defendant.
THE GRAND JURY CHARGESZ

On or about July 12, 2018, in the District of Arizona, Within the confines of the

'NaVajo Indian Reservation, Indian Country, defendant NATHAN SUTHERLAND, an

Indian, did intentionally, knowingly, and recklessly assault Victirn H.H., Who Was an
intimate partner and a dating partner, by strangling and attemptinth strangle her.
In Violation of Title 18, United States Code, Sect_ions 1153 and ll3(a)(8).
A TRUE BILL '

s/

FOREPERSON OF THE GRAND JURY
Date: August 14, 2018

ELIZABETH A. STRANGE
First Assistant United States Attorney
District of Arizona

s/

ALEXANDER W. SAMUELS
Assistant U.S. Attorney

 

